           Case 1:19-cv-24030-JEM Document 1 Entered on FLSD Docket 09/30/2019 Page 1 of 4
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                    B.           TheDefendantts)
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                                 individual,agovernmentagency,an orgnniM tion,oracop oration.Foran individllnldefendant,
                                 includetheperson'sjobortitle(Lfknown).Attach additionalpagesifneeded.

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       Case 1:19-cv-24030-JEM Document 1 Entered on FLSD Docket 09/30/2019 Page 2 of 4
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    I1.     BasisforJurksdiction
            Federalcourtsarecourtsoflimitedjudsdiction(limitedpower).Generally,onlytwotypesofcuescanbe
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                                                      e ism oreth% $75,000 isadiversity ofcitizenship case.In a
            diversity ofcitizenship cmse,no defendantmay be acidzen ofthesame State asany plaintif.

            Whatisthebasisforfederalcourtjurisdiction? (checkallthatapply)
                      Federalquestion                        Diversity ofcitizenship


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            A.       IftheBasisforJurisdictionIsaFederalQuestion
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                        tthe specificfederalstatutes,federalkeaties,and/orprovisionsoftheUnited SGtesConstitm ion that
                     areatissue in thiscase.




             B.      Ifthe BasisforJurisdiction IsDiversity ofCitizenship

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                              a.      Iftheplaintiffisan individual
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                                      Theplaintiff, (name)                                            ,isincorporated
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         B.      ForAttorners

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